Case: 4:17-cr-00276-SO Doc #: 62 Filed: 02/21/18 1 of 2. PageID #: 233




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                    )      Case No.: 4:17 CR 276-005
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )
WILLIE J. BEACHAM,                           )      ORDER ACCEPTING PLEA
                                             )      AGREEMENT, JUDGMENT AND
                                             )      REFERRAL TO U. S. PROBATION
       Defendant                             )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Jonathan D. Greenberg regarding the change of plea hearing of Willie J. Beacham,

which was referred to the Magistrate Judge with the consent of the parties.

       On July 19, 2017, the Government filed a 35 count Indictment, charging Defendant, Willie

J. Beacham, in counts 1, 6 and 17, with Conspiracy to Possess with Intent to Distribute and

Distribute Heroin, in violation of Title 21 U.S.C. § 846, Use of a Telephone to Further Drug

Trafficking, in violation of Title 21 U.S.C §843(b) and 18 U.S.C. § 2. Defendant Beacham was

arraigned on August 9, 2017, and entered a plea of not guilty to Counts 1, 6 and 17, before

Magistrate Judge George J. Limbert. On January 30, 2018, Magistrate Judge Jonathan D. Greenberg

received Defendant Beacham’s plea of guilty to Count 1 of the Indictment and issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of guilty
Case: 4:17-cr-00276-SO Doc #: 62 Filed: 02/21/18 2 of 2. PageID #: 234




entered.

       Neither party submitted objections to the Magistrate Judge’s R&R.

       On de novo review of the record, the Magistrate Judge’s R&R is hereby adopted. Defendant

Willie J. Beacham is found to be competent to enter a plea and to understand his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There is an adequate

factual basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is hereby approved.

       Therefore, Defendant Beacham is adjudged guilty of Count 1 of the Indictment, in violation

of Title 21 U.S.C. § 846. This matter was referred to the U. S. Probation Department for the

completion of a pre-sentence investigation report. Sentencing will be held on May 7, 2018, at 11:00

a.m. in Courtroom 17A, Carl B. Stokes United States Court House, 801 West Superior Avenue,

Cleveland, Ohio.

       IT IS SO ORDERED.

                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE

February 21, 2017
